
SUMMERS, J.,
recused.
In re Melvin Teal, applying for writ of habeas corpus.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Carrol L. Spell, Judge of the Fifteenth Judicial District Court for the Parish of Vermilion, to transmit to the Supreme Court of Louisiana, on or before the 23rd day of February, 1973, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the date aforesaid, at 11 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
It is further ordered that, in the meantime and until the further orders of this court all proceedings against the relator in said Fifteenth Judicial District Court shall be stayed and suspended.
SUMMERS, J., recused.
